                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                      NO. 5:19-CR-154-D



   UNITED STATES OF AMERICA                                           ORDER

        v.
   ALEJANDRO AVILEZ-PEREZ



       On motion of the Defendant, Alejandro Avilez-Perez, and for good cause shown, it is

hereby ORDERED that [DE-89] be sealed until further notice by this Court. The grounds for this

Order are found at [DE-89].

       Accordingly, it is ORDERED that these documents be filed under seal and to remain so

sealed until otherwise ordered by the Court, except that copies may be provided to the Assistant

United States Attorney and Counsel for the Defendant.

       SO ORDERED, this       .30   day of O~coJ.kA. 2020




                                            J  ES C. DEVER III
                                            UNITED STATES DISTRICT JUDGE




             Case 5:19-cr-00154-D Document 91 Filed 12/30/20 Page 1 of 1
